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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                   BOWLING GREEN DIVISION

  LARRY WAYNE SMITH,                              )
                                                  )
                    Plaintiff                     )
                                                  )
  and                                             )
                                                  )
  GREAT WEST CASUALTY COMPANY                     )
                                                  ) CAUSE NO. 1:18-cv-89-GNS-HBB
         Intervening Plaintiff                    )
  v.                                              )
                                                  )
  T. MARZETTI COMPANY                             )
                                                  )
                    Defendant                     )

                  STIPULATION AND AGREED ORDER OF DISMISSAL

                                            * * * * *

        Comes Plaintiff, Larry Wayne Smith, and Intervening Plaintiff, Great West Casualty

 Company, and Defendant, T. Marzetti Company, all by and through their respective counsel, and

 having reached an agreement to resolve all claims between them in this action, hereby stipulate to

 the following and request that the Court enter the order stated below: All claims by the Plaintiff

 and Intervening Plaintiff which were asserted or which could have been asserted in this action

 against the Defendant are dismissed, with prejudice. Being advised of the above Stipulation:

        IT IS THEREFORE ORDERED that all claims asserted in this action or which could

 have been asserted in this action by the Plaintiff and Intervening Plaintiff against the Defendant

 are DISMISSED, with prejudice, with each party to bear its own costs.




                                                                    November 20, 2019
